                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION


UNITED STATES OF AMERICA,               )
                    Plaintiff,          )
                                        )
             v.                         )      No. 2:12-cr-04049-FJG-6
                                        )
ENRIQUE R. TREVINO,                     )
                           Defendant.   )


                        ACCEPTANCE OF PLEA OF GUILTY
                          AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

Matt J. Whitworth (Doc. # 199 filed on April 3, 2014), to which no objection has been

filed, the plea of guilty to Count 1 of the Superseding Indictment which was filed on

January 16, 2013, is now accepted. Defendant is adjudged guilty of such offense(s).

Sentencing will be set by subsequent order of the court.


                                                /s/ Fernando J. Gaitan, Jr.
                                               Fernando J. Gaitan, Jr.
                                               United States District Judge

Dated: April 22, 2014
Kansas City, Missouri




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